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           ORDERED in the Southern District of Florida on December 19, 2024.




                                                                           Laurel M. Isicoff, Judge
                                                                           United States Bankruptcy Court
___________________________________________________________________________




                                           UNITED STATES BANKRUPTCY COURT
                                            SOUTHERN DISTRICT OF FLORIDA
                                                    MIAMI DIVISION
                                                   www.flsb.uscourts.gov

               In re:                                                        Chapter 11

               SHIFTPIXY, INC. et, al. 1                                     Case No. 24-21209-LMI

                     Debtors.                                                (Jointly Administered)
               _______________________________/

                ORDER GRANTING DEBTORS’ MOTION FOR ENTRY OF AN ORDER
            AUTHORIZING THE REJECTION OF CERTAIN EXECUTORY CONTRACT WITH
           TAC NEXEO HOLDINGS, LLC, ITS SUBSIDIARIES AND MEMBERS, EFFECTIVE AS
                             OF OCTOBER 29, 2024 [ECF NO. 129]

                        Upon consideration of the motion (the “Motion”) [ECF No. 129] 2 heard before the Court

           on December 16, 2024 at 10:00 a.m. of Debtors for the entry of an order, pursuant to sections


           1
            The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management, Inc.
           The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
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               Capitalized terms used herein but not otherwise defined shall have the meanings ascribed to such terms in the Motion.
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105(a) and 365(a) of the Bankruptcy Code, authorizing the Trustee to reject the APA, effective as

of October 29, 2024 (the “Rejection Effective Date”); and the Court having reviewed the Motion;

and the Court having found and concluded that (i) it has jurisdiction over this matter pursuant to

28 U.S.C. §§ 157 and 1334, (ii) this is a core proceeding pursuant to 28 U.S.C. §157(b)(2)(A), (iii)

venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409, (iv) notice of the Motion

was sufficient under the circumstances, and (v) the legal and factual bases set forth in the Motion

establish just cause for the relief granted herein; and this Court having determined that granting

the relief requested in the Motion as set forth herein is in the best interests of the Debtors, the

Estates and their creditors; and after due deliberation and sufficient cause appearing therefore;

        IT IS HEREBY ORDERED THAT:

        1.      The Motion is GRANTED as set forth herein.

        2.      This Order shall be immediately effective and enforceable upon its entry.

        3.      Pursuant to sections 105(a) and 365(a) of the Bankruptcy Code and Bankruptcy

Rule 6006, the APA, to the extent not already terminated in accordance with its applicable terms

or upon agreement of the parties, is hereby rejected by the Debtors, with such rejection being

effective as of the Rejection Effective Date.

        4.      The Rejection Effective Date is the day after the Petition Date, and in light of the

Debtors’ decision to sell its business herein, rejection retroactive to this date is appropriate.

        5.      If the Debtors have deposited monies with a counterparty to the APA as a security

deposit or other arrangement, such counterparty may not setoff or recoup or otherwise use such

deposit without the prior authority of this Court.




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         6.    The Debtors are authorized to execute and deliver all instruments and documents

and take such other actions as may be necessary or appropriate to implement and effectuate the

relief granted by this Order.

         7.    The Debtors do not waive any claims that they may have against the counterparties

to the Rejected Contracts, whether or not such claims are related to the Rejected Contracts.

         8.    Seller reserves all rights, claims, defenses, and other remedies that may be available

to it under applicable law and the APA in connection with the debtors’ rejection and pre-petition

breaches thereof. SELLER SHALL HAVE 30 DAYS FROM THE DATE OF THIS ORDER

TO FILE ANY REJECTION DAMAGE CLAIM WITH THE BANKRUPTCY COURT.

         9.    The requirements in Bankruptcy Rule 6006 are satisfied or otherwise waived.

         10.   Notwithstanding any provision in the Bankruptcy Rules to the contrary: (i) this

Order shall be effective immediately and enforceable upon its entry; and (ii) the Debtors are not

subject to any stay in the implementation, enforcement, or realization of the relief granted in this

Order.

         11.   This Court retains jurisdiction with respect to all matters arising from or related to

the implementation or interpretation of this Order.

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Submitted by:
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[Isaac M. Marcushamer, Esq. is directed to provide a copy of this signed Order to all parties of
record and to file a Certificate of Service conforming with Local Rule 2002-1(F), within 3 days of
entry of this Order]




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